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                                                                U.S. DISTRICT COURT E.D.N.Y.
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F. #2014R00196
                                                               *       AUG 2 3 2019 *

UNITED STATES DISTRICT COURT
                                                                  BROOKLYN OFFICE
EASTERN DISTRICT OF NEW YORK
                                           X


 UNITED STATES OF AMERICA                                PRELIMINARY ORDER
                                                         OF FORFEITUXLE
      - against-
                                                         I5-CR-213(SJ)
 ASIA SIDDIQUI,

               Defendant.


                                            X


               WHEREAS,on or about August 23, 2019, ASIA SIDDIQUI(the

"defendant"), entered a plea of guilty to the offense charged in the Count Two ofthe above-

captioned Indictment, charging a violation of 18 U.S.C. § 842(p)(2)(A); and

               WHEREAS,pursuant to 18 U.S.C. §§ 981(a)(1)(C) and 981(a)(1)(G), and 28

U.S.C. § 2461(c), the defendant has consented to the forfeiture of all right, title, and interest

to the United States in the following:(1)the items identified in the documents bates-stamped

Velentzas 002192-002193 and 002199;(2)the items identified in the documents bates-

stamped Siddiqui 000024-000033;(3) cell phone models LG LX370,LG MS323, Siemens

model, Nokia model, HTC P4600, Metro PCS 4G 2TE,LG Nexus, Kyocera 3G and a

Blackberry device, all seized from 161-33 84th Road, Jamaica, New York, on April 2, 2015;

(4) a Sony cybershot camera, Panasonic video camera, memory stick, Metro PCS 2TE with

keyboard, Canon SD memory card, and a Western Digital external hard drive, all seized from

161-33 84th Road, Jamaica, New York, on April 2, 2015;(5) cell phone models LG-MS323

Optimus L70, LG 695, LG-MS769, Samsung SCH-R360,Kyocera Presto, and Blackberry
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device, all seized from 119-57 Inwood Street, Apartment 2, Jamaica, New York, on April 2,

2015;(6) a SD card and a 500 GB Western Digital Hard Drive, both seized from 119-57

Inwood Street, Apartment 2, Jamaica, New York, on April 2, 2015;(7)any other items

seized from 161-33 84th Road, Jamaica, New York and 161-33 84th Road, Jamaica, New

York on April 2, 2015, as reflected in photographs bates-stamped Velentzas 002078-002188,

Velentzas 002205-002230, and Siddiqui 000645-000747, excluding (i) $1,175 dollars and

zero cents and (ii) one Lenovo Thinkpad Laptop Computer, both seized from 161-33 84th

Road, Jamaica, New York (collectively, the "Forfeiture Assets"), as:(a) any property, real or

personal, constituting or derived from proceeds obtained directly or indirectly as result ofthe

defendant's violation of 18 U.S.C. § 842(p)(2)(A);(b) pursuant to 18 U.S.C. § 844(c)(1), any

explosive materials involved or used or intended to be used in any violation ofthe provisions

of 18 U.S.C. § 842(p)(2)(A); and/or(c) substitute assets, pursuant to 21 U.S.C. § 853(p).

              IT IS HEREBY ORDERED,ADJUDGED AND DECREED,on consent, by

and between the United States and the defendant as follows:


              1.      Pursuant to 18 U.S.C. §§ 981(a)(1)(C) and 981(a)(1)(G), 28 U.S.C.

§ 2461(c) and 21 U.S.C. § 853(p), the defendant shall forfeit to the United States all right,

title, and interest in the Forfeited Assets.

              2.      Upon entry of this Preliminary Order of Forfeiture ("Preliminary

 Order"), the United States Attorney General or his designee is authorized to seize the

Forfeited Assets, to conduct any proper discovery, in accordance with Fed. R. Crim. P.

 32.2(b)(3) and (c), and to commence any applicable proceedings to comply with statutes

 governing third party rights, including giving notice of this Preliminary Order.



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                 3.    The United States shall publish notice of this Preliminary Order in

accordance with the custom and practice in this district on the government website

www.forfeiture.gov. of its intent to dispose ofthe Forfeited Assets in such a manner as the

Attorney General or his designee may direct. The United States may, to the extent

practicable, provide direct written notice to any person known or alleged to have an interest

in the Forfeited Assets as a substitute for published notice as to those persons so notified.

                 4.    Any person, other than the defendant, asserting a legal interest in the

Forfeited Assets may, within thirty days(30) of the final publication of notice or receipt of

notice or no later than sixty days(60) after the first day of publication on an official

government website, whichever is earlier, petition the court for a hearing without a jury to

adjudicate the validity of his or her alleged interest in the property, and for an amendment of

the order of forfeiture, pursuant to 21 U.S.C. § 853(n)(6). Any petition filed in response to

notice ofthe forfeiture of the Forfeited Assets must be signed by the petitioner under penalty

of perjury and shall set forth the nature and extent ofthe petitioner's right, title, or interest in

the property, the time and circumstances ofthe petitioner's acquisition of the right, title, or

interest in the property, and any additional facts supporting the petitioner's claim, and the

relief sought.

                 5.    The defendant shall not file or interpose any claim or assist others to

file or interpose any claim to the Forfeited Assets in any administrative or judicial

proceeding. The defendant shall fully assist the government in effectuating the surrender and

forfeiture of the Forfeited Assets to the United States. The defendant shall take whatever


steps are necessary to ensure that clear title to the Forfeited Assets passes to the United



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States, including, but not limited to, the execution of any and all documents necessary to

effectuate the surrender and forfeiture of the Forfeited Assets to the United States. Further, if

any third party files a claim to the Forfeited Assets, the defendant will assist the government

in defending such claims. If the Forfeited Assets are not forfeited to the United States, the

United States may seek to enforce this Preliminary Order against any other assets ofthe

defendant up to the value ofthe Forfeited Assets, pursuant to 21 U.S.C. § 853(p). The

defendant further agrees that the conditions of 21 U.S.C. § 853(p)(l)(A)"(E) have been met.

              6.      The defendant knowingly and voluntarily waives her right to any

required notice concerning the forfeiture ofthe monies and/or properties forfeited hereunder,

including notice set forth in an indictment or information. In addition, the defendant

knowingly and voluntarily waives her right, if any, to a jury trial on the forfeiture ofthe

monies and/or properties forfeited hereunder, and waives all constitutional, legal and

equitable defenses to the forfeiture of same, including, but not limited to, any defenses based

on principles of double jeopardy, the Ex Post Facto clause of the Constitution, any applicable

statute of limitations, venue, or any defense under the Eighth Amendment, including a claim

of excessive fines.


              7.      Pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B), this Preliminary

Order shall become final as to the defendant at the time of the defendant's sentencing and

shall be made part ofthe defendant's sentence and included in her judgment of conviction. If

no third party files a timely claim, this Preliminary Order, together with Supplemental Orders

of Forfeiture, if any, shall become the Final Order of Forfeiture, as provided by Fed. R. Crim.




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p. 32.2(c)(2). At that time, the monies and/or properties forfeited herein shall be forfeited to

the United States for disposition in accordance with the law.

               8.      The United States alone shall hold title to the Forfeited Assets

following the Court's disposition of all third-party interests, or, if none, following the

expiration of the period provided in 21 U.S.C. § 853(n)(2).

               9.      The forfeiture ofthe Forfeited Assets shall not be considered a payment

of a fine, penalty, restitution loss amount, or payment of any income taxes that may be due,

and shall survive bankruptcy.

               10.     This Preliminary Order shall be binding upon the defendant and the

successors, administrators, heirs, assigns and transferees of the defendant, and shall survive

the bankruptcy of any ofthem.

               11.     This Preliminary Order shall be binding only upon the Court "so

ordering" the Order.

               12.     The Court shall retain jurisdiction over this action to enforce

compliance with the terms of this Preliminary Order, and to amend it as necessary, pursuant

to Fed. R. Crim. P. 32.2(e).




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              13.    The Clerk ofthe Court is directed to send, by inter-office mail, Three

(3)certified copies of this executed Preliminary Order to the United States Attorney's Office,

Eastern District of New York, Attn: William K. Helwagen, FSA Senior Law Clerk, 271-A

Cadman Plaza East, 7"^ Floor, Brooklyn, New York 11201.

Dated: Brp^oklyn, New York
                Vb          2019


                                            s/ Sterling Johnson, Jr.
                                           HONpRABLES^iTERLING JOHNSON; JR.
                                           UNITED STATES DISTRICT JUDGE
                                           EASTERN DISTRICT OF NEW YORK




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